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Civil Action No. 1:21-CV-00954-WMS

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

This summons for (name of individual and title, if any) city of buffalo was received by me on (date) 09/02/2021.

[| I personally served the summons on the individual at (place) on (date)
; Or
[| I left the summons at the individual’s residence or usual place of abode with (name) | ,a
person of suitable age and discretion who resides there, on (date) _, and mailed a copy

to the individual’s last known address; or

I served the summons on (name of individual) Janet Poydock , who is designated by law to accept service of
process on behalf of (name of organization) city of buffalo on (date) Thu, Sep 02 2021 ; or

[| I returned the summons unexecuted because: ; Or

[] Other: : or

My fees are $ for travel and $ for services, for|a total of $ $0.00.
|
I declare under penalty of perjury that this information is true.

Date: 09/02/2021 CS

i

Server's signature

Gabriel Williams |

 

Printed name and title

1260 Delaware Ave. Buffalo NY 14209

Server's address

Additional information regarding attempted service, etc.:
1) Successful Attempt: Sep 2, 2021, 3:29 pm EDT at 65 NIAGARA SQ, BUFFALO, NY 14202-3300 Summons & Complaint

received by Janet Poydock for city of buffalo. Age: 40; Ethnicity: Caucasian; Gender: Female; Weight: 160; Height: 5'9";
Hair: Brown; Eyes: Brown; Relationship: Legal; Other: legal accepted the documents :
